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 6                           IN THE UNITED STATES DISTRICT COURT

 7                              FOR THE DISTRICT OF ARIZONA

 8
 9   Center for Biological Diversity,         ) No. 09-CV-8011-PCT-PGR
                                              )
10              Plaintiff,                    ) ORDER
     vs.                                      )
11                                            )
     United States Bureau of Land             )
12   Management, et al.,                      )
                                              )
13              Defendants.                   )
                                              )
14                                            )

15         Before the Court is Defendants’ Unopposed Motion to Seal Previously Filed

16   Documents Containing Sensitive Cultural Resources Information. (Doc. 123.)

17         Good cause existing,

18         IT IS HEREBY ORDERED granting Defendants’ motion (Doc. 123).

19         IT IS FURTHER ORDERED that the four original documents containing sensitive

20   cultural resources information that are within the ranges ASRMP 37514–18, ASRMP

21   54510–612, ASRMP 54631–35, and ASRMP 54636–43, which were submitted on compact

22   disks on June 3, 2010 (Doc. 87), are sealed by the Court. The Clerk’s Office shall only

23   distribute copies of the redacted replacement documents to the public.

24         DATED this 28th day of September, 2011.

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